     Case 2:21-cv-00787-AS Document 21 Filed 01/06/22 Page 1 of 1 Page ID #:2615


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                            UNITED STATES DISTRICT COURT
14
                           CENTRAL DISTRICT OF CALIFORNIA
15                               WESTERN DIVISION
16                                           )
     TRACY COLLINS WAGNER,                       No. 2:21-CV-00787-AS
17                                           )
           Plaintiff,                        )
                                             )   [PROPOSED]
18                                           )   ORDER EXTENDING TIME FOR
                  v.
19                                           )   FILING PARTIES’ JOINT
                                             )
20   KILOLO KIJAKAZI,                        )   SUBMISSION
     Commissioner of Social Security,        )
21                                           )
                                             )
22                                           )
           Defendant.                        )
23
24         Based upon the parties’ stipulation and good cause appearing, Defendant’s time
25   to return her portions of the Joint Submission is hereby extended to February 18, 2022,
26   Plaintiff will have until March 4, 2022 to submit her reply to Defendant, and Defendant
27   will file the Joint Submission by March 11, 2022.
28         IT IS ORDERED.

     DATED: January 6, 2022                  / s / Sagar
                                    THE HONORABLE ALKA SAGAR
                                    UNITED STATES MAGISTRATE JUDGE
